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CRIMINAL COURT OF THE CITY OF NEW YORK
PART APAR, COUNTY OF QUEENS

 

STATE OF NEW YORK
COUNTY OF QUEENS

THE PEOPLE OF THE STATE OF NEW YORK

V.

ALI KOURANI ({29Y)
DEFENDANT

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DETECTIVE JOHN LUNT OF INT CRIMINAL INTELLIGENCE SECTION,

, BEING DULY SWORN, DEPOSES AND SAYS THAT ON OR ABOUT NOVEMBER 8
2013 AT ABOUT 4:00PM, AT THE NE INTERSECTION OF WHITESTONE EXPRESSWAY
AND ULMER STREET, COUNTY OF QUEENS, STATE OF NEW YORK, THE DEFENDANT
COMMITTED THE OFFENSES OF:

PL 165.72 [EF] TRADEMARK COUNTERFEITING IN THE SECOND DEGREE - (DNA
SAMPLE REQUIRED UPON CONVICTION)

VTL 1172-A [V]) FAILED TO STOP FOR STOP SIGN

VTL 375-30 [V] EQUIPMENT OF MOTOR VEHICLES AND MOTORCYCLES;
OBSTRUCTING DRIVER'S VIEW

 

PL 165.72 (EF) TRADEMARK COUNTERFEITING IN THE SECOND DEGREE - (DNA

SAMPLE REQUIRED UPON CONVICTION)
--- WITH THE INTENT TO DECEIVE OR DEFRAUD SOME OTHER PERSON OR
WITH THE INTENT TO EVADE A LAWFUL RESTRICTION ON THE SALE,
RESALE, OFFERING FOR SALE, OR DISTRIBUTION OF GOODS, HE OR SHE
MANUFACTURES, DISTRIBUTES, SELLS, OR OFFERS FOR SALE GOODS WHICH
BEAR A COUNTERFEIT TRADEMARK, OR POSSESSES A TRADEMARK KNOWING IT
TO BE COUNTERFEIT FOR THE PURPOSE OF AFFIXING IT TO ANY GOODS,
AND THE RETAIL VALUE OF ALL SUCH GOODS BEARING COUNTERFEIT
TRADEMARKS EXCEEDS ONE THOUSAND DOLLARS;

VTL 1172-A [V] FAILED TO STOP FOR STOP SIGN;

VTL 375-30 [V] EQUIPMENT OF MOTOR VEHICLES AND MOTORCYCLES; OBSTRUCTING

DRIVER'S VIEW
--- KNOWINGLY AND UNLAWFULLY OPERATE A MOTOR VEHICLE WITH AN
OBJECT PLACED, HUNG IN OR UPON THE VEHICLE OBSTRUCTING OR
INTERFERING WITH THE OPERATOR'S VIEW THROUGH THE WINDSHIELD, OR
PREVENTING HIM/HER FROM HAVING A CLEAR AND FULL VIEW OF THE ROAD
AND CONDITION OF TRAFFIC BEHIND SUCH VEHICLE, AND SUCH EQUIPMENT
WAS NOT A REQUIRED OR PERMITTED PART OF THE VEHICLE.

THE ABOVE OFFENSES WERE COMMITTED AS FOLLOWS:

 

 
 

 

 

KOURANI,ALI Q13667447

DEPONENT STATES THAT AT THE ABOVE MENTIONED DATE, TIME, AND PLACE OF
OCCURRENCE HE OBSERVED THE DEFENDANT, ALI KOURANI, FAIL TO STOP AT A
STOP SIGN, WHILE OPERATING A 2005 DODGE GRAND CARAVAN, WITH THE BACK
WINDOWS OBSTRUCTED BY LARGE BOXES.

DEPONENT FURTHER STATES THAT UPON STOPPING SAID VEHICLE, THE DEFENDANT
STATED IN SUM AND SUBSTANCE "I HAVE COUNTERFEIT BOOTS IN THE BACK OF THE
CAR. I MAKE ABOUT TWO DOLLARS PER PAIR. I BUY THEM FOR 20 DOLLARS."
DEPONENT FURTHER STATES THAT HE RECOVERED ONE HUNDRED NINETY (190) PAIRS
OF COUNTERFEIT UGG BOOTS FROM BOXES IN THE REAR OF THE VAN.

DEPONENT FURTHER STATES THAT HIS CONCLUSION THAT SAID BOOTS ARE
COUNTERFEIT IS BASED UPON HIS EXPERIENCE AS A POLICE OFFICER AND UPON
HIS TRAINING IN THE IDENTIFICATION OF COUNTERFEIT OBJECTS.

FALSE STATEMENTS MADE IN THIS DOCUMENT ARE
PUNISHABLE AS A CLASS A MISDEMEANOR PURSUANT
TO SECTION 210.45 OF TH AL LAW

   

/1-2-13

SWORN TO BEFORE ME ON THE
DAY OF

 

DATE SIGNATURE

 

 
